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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF LOUISIANA


   IN RE:                                  )                      Case No. 17-12870
                                           )
   REILLY-BENTON COMPANY, INC.,            )                       Chapter 7
                    DEBTOR.                )
                                           )                       Judge Grabill
   _______________________________________ )


            BRIEF OF THE CHAPTER 7 TRUSTEE AND THE CENTURY PARTIES
       CONCERNING WHETHER AN ADVERSARY PROCEEDING IS REQUIRED TO
          ADJUDICATE THE TRUSTEE’S REQUEST FOR INJUNCTIVE RELIEF

                  David V. Adler, the Chapter 7 trustee (the “Trustee”), has moved for the entry of

   an order approving a settlement agreement with Century Indemnity Company (“Century”) and

   Pacific Employers Insurance Company (“PEIC” and, collectively, with Century, the “Century

   Parties”) (Dkt. No. 56, the “Motion”). 1 The settlement agreement provides for the sale back to

   Century Parties, free and clear of interests pursuant to §§ 363(b) and (f) of the Bankruptcy Code,

   of the insurance liability policies the Century Parties issued to Debtor pre-petition. In the

   Motion, the Trustee also requests that this Court enter an injunction under § 105(a) of the

   Bankruptcy Code prohibiting persons from seeking insurance coverage from the Century Parties

   under the policies bought back free and clear. Instead, all such claims for insurance policy

   proceeds would be channeled to the funds that would be paid into the estate by Century.

                  Only eight asbestos claimants, four “Roussel objectors” and four “Landry




   1
          Capitalized terms not otherwise defined herein have the meanings ascribed to them in the
   Century Motion or the underlying Settlement Agreement with the Century Parties.
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   objectors,” filed objections to the Motion. 2 Among the objections they made is that the Trustee

   is required to file an adversary proceeding to obtain issuance of an injunction enforcing the “free

   and clear” nature of the buy-back sale to the Century Parties.

                   This issue was raised during the January 11, 2021 status conference before this

   Court. Following the hearing, the Court provided an opportunity to all the parties, including the

   Century Parties, to file briefs on this procedural issue. (See Dkt. Nos. 92, 95.)

                   The Trustee and Century believe that the objectors’ arguments are incorrect, and

   that this Court can and should issue the requested injunction in this contested matter. The

   injunction being sought is merely ancillary to the proposed sale “free and clear” under § 363(f).

   No case stands for the proposition that an adversary proceeding must be filed before a

   bankruptcy court can issue an injunction whose purpose is merely to enforce the “free and

   clear” aspect of a § 363(f) sale. The Zale case cited by the objectors for that purported

   proposition is distinguishable because it did not involve a § 363 sale.

                                          I.      Background

                   The Trustee filed the Century Motion on July 31, 2020. The primary terms of the

   settlement are as follows: 3

                   a.      The Century Parties shall pay $3.5 million to the Trustee within thirty

           days after they receive notice from the Trustee that the Approval Order has (i) been



   2
           See Dkt. Nos. 70 (Roussel & Clement objections), 72 (Landry & Swarr objections). The
   objectors’ lawyers contend that the Court should treat as objectors additional persons represented by
   those lawyers who were not actually identified as objectors. However, the failure to identify such
   persons in the objections should preclude their being considered as objectors.
   3
          This is a summary only. Reference should be made to the complete Agreement attached as
   Exhibit A to the Century Motion. In the event of any discrepancies between the Agreement and the
   summary set forth in this brief, the Agreement controls.

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          entered by the Bankruptcy Court and (ii) become a Final Order.

                 b.      The Trustee, on behalf of the Estate, and the Century Parties shall

          fully, finally, and completely release each other from and with respect to any and all

          Claims and Interests, whether actual or alleged, known or unknown, accrued or

          unaccrued, existing or potential, suspected or unsuspected, under, arising out of,

          related to, and/or in connection with the Century Policies.

                 c.      The Trustee, on behalf of the Estate, shall withdraw any and all

          requests, demands, or tenders for defense or indemnity previously submitted to the

          Century Parties under the Century Policies and shall further surrender, relinquish,

          and release any further right to tender or present any Claims whatsoever to the

          Century Released Parties under the Century Policies, and the Century Released

          Parties shall have no duty to defend or indemnify the Estate with respect to any

          past, present, or future Claim, nor shall the Century Released Parties have any other

          duty or obligation whatsoever to any other Person with respect to any and all Claims

          under, arising out of, related to, and/or in connection with the Century Policies.

                 d.      Effective immediately upon the receipt of the Settlement Amount by

          the Trustee and without any further action being required, the Trustee shall be

          deemed to have sold, conveyed, transferred, and delivered to the Century Parties,

          and the Century Parties shall be deemed to have purchased, pursuant to Sections

          363(b) and (f) of the Bankruptcy Code, the Century Policies free and clear of any

          and all Interests of any and all Persons.

                 e.      All Persons who hold or assert, or may in the future hold or assert,

          any Claim against Debtor, the Trustee, or the Estate arising in connection with the


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          activities covered by the Century Policies, or in connection with the Debtor’s

          activities giving rise to the Claims made or that could be made under the Century

          Policies, and any other Person who may claim to be an insured, additional insured,

          or otherwise entitled to any benefit under the Century Policies, shall be permanently

          stayed, restrained, and enjoined from asserting any such Claim or right to

          entitlement, from commencing a proceeding, or taking any other action against the

          Century Released Parties for the purpose of obtaining any recovery or other relief

          from the Century Released Parties under, arising out of, related to, and/or in

          connection with the Century Policies.

                  In addition to explaining why the sale described in the Motion met the

   requirements of Rule 9019 and was appropriate under §§ 363(b), (f), and (m) of the Bankruptcy

   Code, the Motion also explained why issuing an injunction barring any person from asserting

   any Claim against the Century Parties under the Century Policies is both necessary to give full

   effect to the “free and clear” provisions of the sale and appropriate under § 105. (See Motion at

   17-20.) In particular, the Motion noted that such injunctions “are relatively common with §

   363(f) sale orders.” 4 Such injunctions are also common in insurance settlements in asbestos

   bankruptcies and other types of mass tort bankruptcies – even non-asbestos bankruptcies to

   which § 524(g) does not apply. 5

                  The Trustee served notice of the Motion by mail pursuant to this Court’s order




   4
         Motion at 18 & n.34, citing, inter alia, In re Sunland, Inc., 2014 WL 7011747, at *5-6 (Bankr.
   D.N.M. Dec. 11, 2014) (“Such ‘channeling,’ ‘supplemental,’ or ‘clarifying’ injunctions are relatively
   common with § 363(f) sale orders”) (citing numerous cases);
   5
          Motion at 18 & n.35 (citing cases).

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   regulating service in this case. 6 This service was designed to reach all known holders of asbestos

   claims through their counsel of record. 7 The Trustee also broadly published notice of the

   Motion, the hearing on the Motion, and the opportunity to file objections to the Motion in USA

   Today, The Times-Picayune/The New Orleans Advocate, the Jackson, MS Clarion Ledger, the Tuscaloosa

   News, the Houston Chronicle, the Baton Rouge Advocate, the Acadiana Advocate (Lafayette, LA), the

   Town Talk (Alexandria, LA), the Shreveport Times, the Lake Charles American Press, and the News

   Star (Monroe, LA). 8

                   In response, only two objections were filed by eight named objectors. 9 The

   objectors argued under the Fifth Circuit’s decision in Zale Corp. 10 that the Trustee cannot obtain

   the requested ancillary injunction channeling the proceeds of the § 363(f) “free and clear” sale to

   the estate unless he first files an adversary proceeding.

                   For the reasons explained below, the objectors are wrong. No adversary




   6
           See Dkt. No. 58. Judge Brown had previously authorized service on asbestos claimants
   through their counsel of record, as is common in asbestos bankruptcies. See Dkt. No. 45. Among
   the asbestos law firms served were Landry & Swarr and Roussel & Clement. See Dkt. No. 58 at 3, 4.
   7
          See Motion to Approve Certain Notice Procedures for Asbestos Claimants and Other Parties in Case, ¶¶
   6-12 (Dkt. No. 32), granted by Dkt. No. 45.
   8
           See Submission of Proofs of Publication, Dkt. No. 67.
   9
           The Roussel objections listed four objectors: Mary Patsy Soileau Courville, Mavis Todd
   Courville, Michael Wade Courville, and Joseph Eric Courville. The Landry objections likewise listed
   four objectors: Donald Bridges, Tina Danos, Mary Sanderson, and Frank Tranchina. Both sets of
   objections seek to expand the list of objectors to unknown, unidentified persons by using the
   ambiguous phrase “among others” following the names of the specified objectors, but any person
   who was not explicitly identified as an objector in a timely-filed objection has waived any objection
   to the Motion. See, e.g., 3 COLLIER ON BANKRUPTCY § 363.06 n. 39 (19th ed. rev. 2019) (for
   purposes of § 363(f)(2), a “failure to object can constitute consent, if there was adequate notice”).
   The Roussel objections also list in footnote 1 other clients of that law firm, but none of those
   persons are identified as objectors.
   10
           Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746 (5th Cir. 1995).

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   proceeding is required for the Court to issue the requested injunction. 11

                  II.     No adversary proceeding is required for the relief soug ht
                                 under Rule 9019 a nd Section 363
                   As a threshold matter, there is no basis whatsoever for any argument that the

   relief sought by the Trustee under Bankruptcy Rule 9019 (approval of the settlement) or Section

   363 (approval of the sale of the policies back to the Century Parties, “free and clear” of interests)

   requires an adversary proceeding. The list of adversary proceedings in Bankruptcy Rule 7001

   makes no mention of Rule 9019 or Section 363. Any suggestion by the objectors that an

   adversary proceeding is required to obtain approval of the settlement or the sale of policies is

   unsupported and completely without merit.

                   One consequence of this fact is that any person who did not file an objection is

   deemed to have consented to the relief sought in the Motion, including the request for an

   injunction enforcing the free and clear sale of the Century Policies back to the Century Parties. 12

   Accordingly, any person who did not file an objection to the Motion should be deemed to have

   consented to the Motion and the relief sought therein, including the requested injunction. That

   should include all clients of the Roussel and Landry law firms that are not among the eight

   persons listed as objecting to the Motion.




   11
          This brief addresses only the procedural issue concerning the alleged necessity of an
   adversary proceeding, as to which the Court requested input from the parties. It does not address
   the substantive issues raised by the Motion.
   12
           See, e.g., Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746, 763 (5th Cir. 1995) (recognizing that
   where a party is entitled to an adversary proceeding, such right can be waived); 3 COLLIER ON
   BANKRUPTCY § 363.06 n. 39 (19th ed. rev. 2019) (for purposes of § 363(f)(2), a “failure to object can
   constitute consent, if there was adequate notice”).

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          III.    No adversary proceeding is required for a limited, a ncillary injunction
                     enforcing a “free and clear” sale under Section 363(f) 13

                   The objectors argue that the Motion is “procedurally defective” because the

   Trustee is seeking entry of an injunction without commencing an adversary proceeding. But the

   objectors cite no case standing for the proposition that when a court approves a sale “free and

   clear” under § 363(f) of the Bankruptcy Code, an adversary proceeding complaint is required for

   the court to issue a § 105 injunction that merely “gives effect” to the terms of the “free and

   clear” sale. In none of the many cases identified in the Trustee’s Motion, in which courts

   entered § 105 channeling injunctions in support of “free and clear” sales, did the court require

   the debtor or trustee to first commence an adversary proceeding.14

                   It makes great sense not to require the filing of an adversary proceeding to obtain

   an injunction that is merely “a corollary to the power to dispose of assets free and clear and to

   channel claims to the proceeds.” 15 A “free and clear” order under § 363(f) is effective as against

   the entire world, and should need no injunctive support. Unfortunately, litigants may disregard

   or misinterpret “free and clear” sale orders, thus making protective injunctive relief to enforce

   the “free and clear” sale order necessary in certain instances. 16 The fact, however, is that the



   13
           The Trustee and Century incorporate those portions of the brief contemporaneously being
   filed by the Trustee and LIGA arguing that Bankruptcy Rule 7001(7) is not applicable in cases where
   the injunction is merely a corollary to the power of the Trustee to collect property of the estate and
   channel claims to the proceeds.
   14
           See, e.g., cases cited in the Motion at ¶¶ 40-44.
   15
           MacArthur Co. v. Johns-Manville Corp., 837 F.2d 89, 93 (2d Cir. 1988). See also id. at 90
   (affirming bankruptcy court’s injunctive orders which were issued, without an adversary proceeding,
   “pursuant to its power to dispose of a debtor’s property free and clear of third-party interests and to
   channel such interests to the proceeds of the disposition”).
   16
           See, e.g., Regions Bank of Louisiana v. Rivet, 224 F.3d 483, 489-92 (5th Cir. 2000) (affirming entry
   of an injunction entered to bar litigation that had been filed in derogation of a “free and clear” sale
                                                                                                 (Continued...)
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   requested injunction is truly ancillary to the main relief sought, a § 363 “free and clear” sale

   order, which does not require an adversary proceeding.

                  Indeed, what the objectors are really complaining about is that they want to be

   able to freely disregard the terms of any “free and clear” sale order entered by this Court, so that

   they can pursue claims against the Century Parties that, under § 363(f) itself, could only be

   pursued against the proceeds of the settlement. It would surely elevate form over substance in

   an entirely unwarranted and perverse way to require the Trustee to sue more than 18,000

   claimants – all but eight of whom failed to object to the Motion – merely to establish that they

   cannot willfully violate the terms of an order entered by this Court. 17

                  Moreover, a lawsuit of such unmanageable proportions would impose

   unimaginable costs on the estate and would effectively write § 363(f) out of the Bankruptcy

   Code. The requirement the objectors seek to impose would hamstring trustees and debtors in

   possession in their efforts to monetize assets of the estate for distribution to creditors on an

   ________________________
   order under § 363(f)). See also In re Dow Corning Corp., 198 B.R. 214, 245 (Bankr. E.D. Mich. 1996)
   (“an actual injunction barring creditors from suing a purchaser of estate assets is sometimes
   necessary and appropriate to give the ‘free and clear’ aspect of § 363(f) meaning”).
   17
           See, e.g., In re Seatco, Inc., 257 B.R. 469 (Bankr. N.D. Tex. 2001) (overruling objection to an
   injunction issued without an adversary proceeding because the objector’s rights “were not adversely
   affected by the Debtor’s failure to seek the injunctions through an adversary proceeding), citing In re
   American Dev. Int’l. Corp., 188 B.R. 925, 935 (N.D. Tex. 1995) (where rights of affected parties have
   been adequately protected and affected parties have had an opportunity to be heard, form should
   not be elevated over substance).
            The objectors seek to represent the interests of persons who are not present before the
   court, including persons who received notice of the Motion but failed to object. (See Roussel Obj. at
   2 (“This order seeks not only to affect the Roussel and Clement creditors but numerous other
   Reilly-Benton tort victims as well as future tort victims of Reilly-Benton whose diseases have not yet
   manifested”).) The objectors, however, lack standing to represent the interests of those who did not
   object. See, e.g., Seatco, 257 B.R. at 478 n.3 (holding that an objector “has no standing” to object to
   the lack of an adversary proceeding “on behalf of other creditors”); Locks v. U.S. Trustee, 157 B.R. 89
   (W.D. Pa. 1993) (attorney for asbestos claimants could not argue for the interests of future
   claimants).

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   equitable basis. 18

                   The objectors base their argument that an adversary proceeding is required on the

   Fifth Circuit’s decision in Zale Corp. 19 That case is distinguishable, however, because it did not

   involve an injunction entered as a corollary to a § 363(f) “free and clear” sale order.

   Significantly, no decision has applied Zale to an injunction entered as a corollary to a § 363(f)

   sale. In addition, unlike the case here, there was no prior notice to the affected parties of the

   proposed injunction in Zale. 20 By contrast, the Trustee in this case gave notice of the Motion,

   including his intent to seek an injunction, and also widely published notice in one national paper

   and in local papers throughout Louisiana and in nearby states in an attempt to reach unknown

   claimants. Thus, the objectors, who filed extensive objections, cannot claim that they did not

   receive adequate notice of the Trustee’s request for an ancillary § 105 injunction to give effect to

   the § 363(f) “free and clear” sale order.

                   Moreover, courts within the Fifth Circuit have held, following Zale, that it is not

   necessary to commence an adversary proceeding in every instance to obtain an order enjoining

   third-party claims, so long as the parties who would be subject to the injunction are given a “full




   18
           It similarly would be unreasonable to require an adversary proceeding to approve a
   settlement that has, as one of its benefits to the estate, the avoidance of litigation.
   19
           Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746 (5th Cir. 1995).
   20
            See id. at 749 (noting that the request for an injunction was added via a modification to the
   proposed settlement agreement during “the evening of the first day of the hearing”). The two Fifth
   Circuit cases cited by Zale as authority recognizing waiver (but denying waiver in the particular cases)
   also involved situations where the parties had no real prior notice of the requested relief that
   required the filing of an adversary. See In re Haber Oil Co., 12 F.3d 426, 440 (5th Cir. 1994) (“the
   record shows that Haber Oil was not given proper notice prior to the commencement of the post-
   confirmation proceedings in the bankruptcy court”); In re Village Mobile Homes, 947 F.2d 1282, 1283
   (5th Cir. 1991) (“Counsel for Village Mobile was not present when the conversion claim was first
   raised in bankruptcy court”).

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   and fair” hearing. 21 For example, in rejecting an argument that an injunction was per se improper

   because it was entered without an adversary proceeding in the context of a hearing to consider a

   proposed settlement, the court in Bayoud noted that, “[u]nlike the facts of Zale, in which

   appellants’ challenge to a settlement was prevented by the bankruptcy court and treated as a

   collateral and irrelevant sideshow in an otherwise complex and extended hearing, in the instant

   case Paige’s attack on the settlement easily consumed the bulk of the hearing and was in all

   respects heard as if in the context of an adversary proceeding.” 22

                    The question of whether to approve the proposed sale of the policies back to the

   Century parties free and clear under Rule 9019 and § 363, and issue an ancillary injunction to

   enforce the free and clear nature of the sale, will be no sideshow here. Rather, it will be the

   main event. The objectors have had notice of the Motion, they have filed extensive objections,

   they will be permitted to take discovery, 23 and they will have a chance to participate in an

   evidentiary hearing devoted solely to the Motion. This provides the objectors with the same

   “full and fair” opportunity for a hearing as an adversary proceeding. Nothing more is or should

   be required.

                    Moreover, courts regularly overlook technical non-compliance with Rule 7001




   21
          See, e.g., Bayoud v. Medical Center Hospital of Garland, Inc. (In re American Dev Int’l Corp.), 188 B.R.
   925, 935 (N.D. Tex. 1995).
   22
           Id. (citation omitted). The district court found that the bankruptcy court’s injunction
   nevertheless was improper because the bankruptcy court had not conducted the proper injunction
   analysis. The district court thus remanded, holding “that the bankruptcy court must conduct such
   further proceedings as are necessary under Zale to constitute an adversary proceeding or its
   equivalent.” Id. at 936 (emphasis added).
   23
          Bankruptcy Rule 9014 incorporates all of the discovery tools available through Bankruptcy
   Rules 7026 and 7028-7037 into contested matters.

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   where no harm results from doing so. 24 Here, objectors can point to no harm they will suffer if

   the Court were to grant an injunction whose purpose is solely to support a free and clear sale

   pursuant to the Trustee’s Motion. Accordingly, the Court should not elevate form over

   substance by requiring an adversary proceeding as a prerequisite to issuance of the requested

   ancillary injunction.

                                           IV.     Conclusion

                   An adversary proceeding is not required here. The Court can and should issue

   the requested ancillary injunction in this contested matter. The objectors’ rights and interests are

   not adversely affected if this matter proceeds by motion rather than by complaint.

   DATED: January 21, 2021                        Respectfully submitted,

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                                                  - and -




   24
            See, e.g., In re Cannonsburg Envtl. Assocs., 72 F.3d 1260, 1265 (6th Cir. 1996) (“although the
   Trustee should have filed an adversary complaint instead of a motion, this error was harmless”); In re
   Zolner, 249 B.R. 287, 292 (N.D. Ill. 2000) (“unless the party is able to demonstrate prejudice by the
   failure to file an adversary proceeding, a court will find the error [in filing a motion instead a
   complaint] constitutes harmless error”); In re Orfa Corp., 170 B.R. 257, 275 (E.D. Pa. 1994)
   (“Nevertheless, in some cases where a matter was improperly initiated by motion as a contested
   matter, ‘courts have concluded that where the rights of the affected parties have been adequately
   presented so that no prejudice has arisen, form will not be elevated over substance and the matter
   will be allowed to proceed on the merits as originally filed”) (citation omitted).

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